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6                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
7                                   AT YAKIMA

8       ENRIQUE JEVONS, as managing                 NO. 1:20-cv-03182-SAB
        member of Jevons Properties LLC,
9       et al.,                                     DEFENDANTS’
                                                    SUPPLEMENTAL REPLY
10                     Plaintiffs,                  BRIEF RE: CEDAR POINT
                                                    NURSERY V. HASSID,
11         v.                                       141 S. CT. 2063 (2021)

12      JAY INSLEE, in his official                 NOTED FOR: Aug. 24, 2021,
        capacity of the Governor of the             at 10:30 a.m.
13      State of Washington, et al.
                                                    With Oral Argument
14                     Defendants.

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        DEFENDANTS’ SUPPLEMENTAL REPLY                        ATTORNEY GENERAL OF WASHINGTON
        BRIEF RE: CEDAR POINT NURSERY V.                           Complex Litigation Division
        HASSID, 141 S. CT. 2063 (2021)                              800 5th Avenue, Suite 2000
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1                                    I.         INTRODUCTION

2             Cedar Point Nursery v. Hassid, 141 S. Ct. 2063 (2021), does not control the

3       Takings Clause analysis for the now-expired moratorium on evictions. There, the

4       California access regulation—which gave outside labor organizers “a right to take

5       access” to agricultural employers’ property—was a per se physical taking; it

6       appropriated property owners’ “right to exclude” for the government itself or for third

7       parties. Cedar Point Nursery, 141 S. Ct. at 2072. Here, the Moratorium did not give

8       uninvited third parties “a right to take access” or invade the Landlords’ properties.

9       The Landlords voluntarily invited tenants by renting their units, and the Moratorium

10      temporarily regulated rental relationships by prohibiting the Landlords from

11      expelling their tenants for non-payment of rent. The State did not effect a per se

12      taking. The Court should accordingly grant summary judgment to the State on the

13      Takings Clause claim (and all claims).

14                                        II.    ARGUMENT
15            The Landlords make three arguments in their supplemental reply brief,

16      ECF No. 55, that mischaracterize precedent and the Moratorium. None of their

17      arguments change this overarching point: For purposes of the Takings Clause,

18      controlling precedent distinguishes between (a) regulations governing the

19      relationship between property owners and those they have voluntarily invited onto

20      their property, from (b) regulations that grant the public the right to invade private

21      property. See Cedar Point Nursery, 141 S. Ct. at 2077; Yee v. City of Escondido, 503

22      U.S. 519, 531 (1992).


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1             First, the Landlords try to escape F.C.C. v. Florida Power Corporation and

2       Yee v. City of Escondido by cabining the cases as mere rent control challenges. See

3       ECF No. 55 at 2. But in Yee, the petitioners challenged a rent control law for mobile

4       homes in conjunction with another law that “limit[ed] the bases upon which a park

5       owner may terminate a mobile home owner’s tenancy.” 503 U.S. at 524. The

6       petitioners argued that the regime of regulations effected a physical taking,

7       contending “what has been transferred from park owner to mobile home owner is no

8       less than a right of physical occupation of the park owner’s land.” Id. at 527. The

9       Supreme Court rejected the park owners’ argument, holding that it could not be

10      squared with prior cases on physical takings, which occur only when the government

11      “requires the landowner to submit to the physical occupation of his land.” Id. The

12      Court held that the rent control ordinance—“even considered against the backdrop”

13      of the residency law—“[did] not authorize an unwanted physical occupation of

14      petitioners’ property.” Id. at 532. Instead, the ordinance regulated the “petitioners’

15      use of their property, and thus [did] not amount to a per se taking.” Id.

16            The Landlords also misconstrue the State’s position as “mandat[ing] that

17      Plaintiffs house their nonpaying and lease breaking tenants indefinitely.” ECF No. 55

18      at 3. This is also wrong. As Yee stated, and the State has readily acknowledged, “[a]

19      different case would be presented were the statute, on its face or as applied, to compel

20      a landowner over objection to rent his property or to refrain in perpetuity from

21      terminating a tenancy.” Yee, 503 U.S. at 528; see ECF No. 40 at 19. This is not that

22      case: The Landlords “invited” and “voluntarily rented” their units to renters. 503 U.S.


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1       at 527–28. The Moratorium did not continue in perpetuity, and it allowed the

2       Landlords to “change the use” of their land if they sought to sell or occupy the

3       property themselves. Id. at 528; see Procl. 20-19.6. The Moratorium also permitted

4       the Landlords to evict or terminate a tenancy “when necessary to respond to a

5       significant and immediate risk to the health, safety, or property of others created by

6       the resident.” Procl. 20-19.6.

7             Second, the Landlords misunderstand the State’s argument about property that

8       owners voluntarily open for occupation by others. See ECF No. 55 at 4–5. The State’s

9       argument is that, based on the principles stated in Cedar Point Nursery and Yee,

10      regulations on how people treat those whom they have invited onto their properties

11      are distinguishable from regulations “granting a right to invade property closed to the

12      public.” ECF No. 52 at 4 (quoting Cedar Point Nursery, 141 S. Ct. at 2077). Like the

13      private property owners in Yee, the Landlords “voluntarily open their property to

14      occupation by others,” so they “cannot assert a per se right to compensation based on

15      their inability to exclude particular individuals.” Yee, 503 U.S. at 531.

16            Third, the Landlords contend “[t]here is no principled reason for concluding

17      that property is not taken” based on their voluntary invitation of tenants to their

18      properties. ECF No. 55 at 5. But this invitation is central to the Court’s holdings that

19      the challenged laws in Florida Power and Yee did not effect per se takings. See Yee,

20      503 U.S. at 528 (“Petitioners’ tenants were invited by petitioners, not forced upon

21      them by the government.”); F.C.C. v. Fla. Power Corp., 480 U.S. 245, 252–53 (1987)

22      (explaining that the public utility landlords “voluntarily entered into leases with cable


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1       company tenants” and distinguishing “between a commercial lessee and an interloper

2       with a government license”).

3             Instructive here, a federal district court has already treated Cedar Point

4       Nursery as distinguishable in evaluating an eviction moratorium in place in San

5       Diego County. See S. Cal. Rental Housing Ass’n v. County of San Diego,

6       No. 3:21CV912-L-DEB, 2021 WL 3171919, at *8 (S.D. Cal. July 26, 2021). The

7       court held that the plaintiff had not shown a likelihood of success on the merits on its

8       Contracts Clause and Takings Clause claims, see id. at *4–9, and explained why

9       Cedar Point Nursery did not control the Takings Clause analysis:

10            Unlike the landowners in Cedar Point who were forced to allow
              unionizing activity on their property for a specified amount of time, the
11            landowners here invited the renters to inhabit their rental units, make
              them their homes, and abide by the rental agreements. No “physical
12            invasion” has occurred here. Although renters cannot be evicted during
              the temporary duration of the Ordinance, landlords have not lost their
13            right to exclude as did the owners in Cedar Point.
14      Id. at *8. The same holds true here. The Landlords—like the property owners in
15      Southern California Rental Housing Association—invited their tenants onto their
16      properties. Those tenants were not forced upon the Landlords by the State. And the
17      Landlords have not lost their right to exclude.
18                                      III.   CONCLUSION
19            Cedar Point Nursery does not change the precedent: regulations like the
20      Moratorium that govern the use of property without physically invading it do not effect a
21      per se taking. The Court should grant summary judgment to the State.
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1             DATED this 4th day of August, 2021.

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1                               DECLARATION OF SERVICE

2             I hereby declare that on this day I caused the foregoing document to be

3       electronically filed with the Clerk of the Court using the Court’s CM/ECF System

4       which will serve a copy of this document upon all counsel of record.

5             DATED this 4th day of August, 2021, at Tacoma, Washington.

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